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FAX COVER SHEET

 

 

 

 

 

FROM Squillante, Alphonse

COMPANY

FAX NUMBER —= 12672997368

DATE 7022-09-19 17:14:59 CDT

RE United States of America ex rel. Ellsworth Associates, LLP v. CVS Health

Corporation, et al., No. 2:19-cv-02553-JMY

 

COVER MESSAGE

 

Dear Judge Younge:
Please find the enclosed correspondence.
Respectfully submitted,

ALPHONSE J. SQUILLANTE
Paralegal
MeoDermot Wil & Ercery LLP One Vanderbiit Avenue, New York, NY 10017-3852
Telt+1212 547 5400 cme asquillante@mwe.com
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Fram: Squillante, Alphonse
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FACSIMILE
Date: September 19, 2022 Time Sent:
To: Company: Facsimile No: Telephone No:
Hon. John Milton Younge United States District Court, Eastern (267) 299-7368 (267) 299-7360
District of Pennsylvania
From: Lesii Esposito Direct Phone: (202) 756-8445
E-Mail: lesposito@mwe.com Direct Fax: (202) 591-2798
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Re: United States of America ex rei. Ellsworth Associates, LLP v. CVS Heatth Corporation, ef al., No. 2:19-
cv-02553-JMY
Message:

Dear Judge Younge:

Please find the anclosed correspondence.

Respectiully submitted,
Lesli C. Esposito

 

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September 19, 2022

VIA FACSIMILE

The Honorable John Milton Younge
USDC Eastern District of Pennsylvania
4007 U.S. Courthouse

601 Market Street, Courtroom 4-A
Philadelphia, PA 19106

Re: US) ex rel. Ellsworth Assocs., LLP y. CVS Health Carp., et al., No. 2:19-cv-02553-IMY
Dear Judge Younge,

The parties submit this joint letter regarding the Defendants’ request for an extension of time m
this action, pursuant to Rule A.1 of your Policies and Procedures.

The Defendants request a 24-day extension of their time to reply to the Relator’s Response to the
Defendants’ Motion to Dismiss. The extension would move the time to reply from September 30, 2022,
to October 24, 2022. No prior request has been made for this relief.

The parties have met and conferred regarding the extension and the Relator consents to it. We
thank the Court for its attention to this matter.

Respectfully submitted,

 

 

BARON & Bupp B.C. McDermotr Witt & EMery LLP
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CVS Caremark Corporation

ce! Counsel of Record (Via E-Mail)
